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    BLINDING EDGE PICTURES, INC.; UNCLE
  9 GEORGE PRODUCTIONS, LLC; APPLE INC.;
    ESCAPE ARTISTS, INC. (erroneously sued as
 10 ESCAPE ARTISTS LLC); DOLPHIN BLACK
    PRODUCTIONS; M. NIGHT SHYAMALAN;
 11 TONY BASGALLOP; ASHWIN RAJAN;
    JASON BLUMENTHAL; TODD BLACK;
 12 STEVE TISCH
 13
                                         UNITED STATES DISTRICT COURT
 14
                                   CENTRAL DISTRICT OF CALIFORNIA
 15
 16 FRANCESCA GREGORINI,                                   Case No. 2:20-cv-00406-JFW-JC
 17                                      Plaintiff,        [PROPOSED] ORDER GRANTING
                                                           DEFENDANTS’ MOTION TO
 18            vs.                                         DISMISS COMPLAINT AND
                                                           REQUEST FOR JUDICIAL
 19 APPLE INC., a California corporation;                  NOTICE
    M. NIGHT SHYAMALAN, an
 20 individual, BLINDING EDGE
    PICTURES, INC., a Pennsylvania
 21 corporation; UNCLE GEORGE
    PRODUCTIONS, a Pennsylvania
 22 corporate; ESCAPE ARTISTS LLC, a
    California limited liability company;
 23 DOLPHIN BLACK PRODUCTIONS, a
    California corporation; TONY
 24 BASGALLOP, an individual; ASHWIN
    RAJAN, an individual; JASON
 25 BLUMENTHAL, an individual; TODD
    BLACK, an individual; STEVE TISCH,
 26 an individual; and DOES 1-10, inclusive,
 27                                      Defendants.
 28

                                                       1
      [PROPOSED] ORDER
      4836-2998-8788v.1 0113237-000003
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  1                                            ORDER
  2            Defendants Blinding Edge Pictures, Inc., Uncle George Productions, LLC,
  3 Apple Inc., Escape Artists, Inc. (erroneously sued as Escape Artists LLC), Dolphin
  4 Black Productions, M. Night Shyamalan, Tony Basgallop, Ashwin Rajan, Jason
  5 Blumenthal, Todd Black, and Steve Tisch (collectively “Defendants”) filed a
  6 motion to dismiss plaintiff Francesca Gregorini’s (“Plaintiff”) complaint. Having
  7 reviewed and considered the motion and all other papers and argument, the motion
  8 is GRANTED.
  9            The Court finds that Plaintiff’s copyright claims fail because there is no
 10 substantial similarity of protected expression between the works at issue. See Three
 11 Boys Music Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir. 2000). Plaintiff’s second
 12 cause of action for contributory and vicarious copyright infringement necessarily
 13 fails because her claim for direct infringement fails. See Fox Broad. Co. v. Dish
 14 Network, 747 F.3d 1060, 1068 (9th Cir. 2014). Plaintiff cannot cure the defects in
 15 her complaint by amending. Accordingly, Plaintiff’s complaint is DISMISSED
 16 WITH PREJUDICE.
 17            After considering Defendants’ request for judicial notice, filed with their
 18 motion to dismiss, and good cause appearing therefor, their request is GRANTED.
 19 The Court takes judicial notice of the following: (1) the first season of Defendants’
 20 series Servant (Episodes 1-10) and the Servant trailer; (2) the fact that using a doll
 21 to cope with grief is a widely known therapeutic technique in real life; and (3) the
 22 following generic premises common to expressive works: (a) a character treating a
 23 doll as their child; and (b) hiring a nanny or a babysitter.
 24
 25 IT IS SO ORDERED.
 26
 27 Dated: ________________                      By:
                                                       Honorable John F. Walter
 28                                                    United States District Judge
                                                  2
      [PROPOSED] ORDER
      4836-2998-8788v.1 0113237-000003
